Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 1 of 165




              EXHIBIT 31
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 2 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 3 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 4 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 5 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 6 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 7 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 8 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 9 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 10 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 11 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 12 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 13 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 14 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 15 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 16 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 17 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 18 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 19 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 20 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 21 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 22 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 23 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 24 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 25 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 26 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 27 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 28 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 29 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 30 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 31 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 32 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 33 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 34 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 35 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 36 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 37 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 38 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 39 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 40 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 41 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 42 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 43 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 44 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 45 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 46 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 47 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 48 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 49 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 50 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 51 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 52 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 53 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 54 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 55 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 56 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 57 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 58 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 59 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 60 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 61 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 62 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 63 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 64 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 65 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 66 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 67 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 68 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 69 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 70 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 71 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 72 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 73 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 74 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 75 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 76 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 77 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 78 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 79 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 80 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 81 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 82 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 83 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 84 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 85 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 86 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 87 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 88 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 89 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 90 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 91 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 92 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 93 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 94 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 95 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 96 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 97 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 98 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 99 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 100 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 101 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 102 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 103 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 104 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 105 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 106 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 107 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 108 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 109 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 110 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 111 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 112 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 113 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 114 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 115 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 116 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 117 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 118 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 119 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 120 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 121 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 122 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 123 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 124 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 125 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 126 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 127 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 128 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 129 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 130 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 131 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 132 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 133 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 134 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 135 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 136 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 137 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 138 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 139 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 140 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 141 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 142 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 143 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 144 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 145 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 146 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 147 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 148 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 149 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 150 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 151 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 152 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 153 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 154 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 155 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 156 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 157 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 158 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 159 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 160 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 161 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 162 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 163 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 164 of 165
Case 3:14-cv-02346-JCS Document 248-32 Filed 05/19/17 Page 165 of 165
